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                        UNITED STATES DISTRICT COURT
                        WESTERN DISTRICT OF LOUISIANA
                             LAFAYETTE DIVISION

 JOHN PAUL ANTHONY                                CRIMINAL ACTION NO. 03-60024
                                                       CIVIL ACTION NO. 08-755

 VERSUS                                                           JUDGE MELANÇON

 UNITED STATES OF AMERICA                            MAGISTRATE JUDGE HANNA

                                       JUDGMENT

        For the reasons stated in the Report and Recommendation of the Magistrate Judge

 previously filed herein, and after an independent review of the record, determining that

 the findings are correct under the applicable law, and considering the objections to the

 Report and Recommendation in the record;

        IT IS ORDERED, ADJUDGED AND DECREED that John Paul Anthony’s

 Motion Under 28 U.S.C. § 2255 to Vacate Sentence. [Rec. Doc. 258] is DENIED and

 DISMISSED WITH PREJUDICE.

        THUS DONE AND SIGNED, in chambers, in Lafayette, Louisiana, on this 15 th

 day of September, 2010.
